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IN THE UNITED STATES DISTRICT COURT FILED
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION 2016 JAN25 PM 3:35
SEPUTY CLERK

UNITED STATES OF AMERICA
Vv. Case No. 3:15-CR-307-M

NICOLE LEEDY (13)
a.k.a. “Nicky”

PLEA AGREEMENT

Nicole Leedy, Robert O. Jenkins, the Defendant's attorney, and the United States

of America (the government), agree as follows:

1, Rights of the Defendant: Leedy understands that she has the following
rights:
a. to plead not guilty;
b. to have a trial by jury;

c. to have her guilt proven beyond a reasonable doubt;

d. to confront and cross-examine witnesses and to call witnesses in her
defense; and

e. to be free against compelled self-incrimination.

2. Waiver of rights and plea of guilty: Leedy waives these rights and pleads
guilty to the offense alleged in Count One of the Indictment, charging a violation of 21
U.S.C. § 846, that is, Conspiracy to Distribute a Controlled Substance. Leedy
understands the nature and elements of the crime to which she is pleading guilty, and

agrees that the factual resume she has signed is true and will be submitted as evidence.

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3.

include:

4.

Sentence: The minimum and maximum penalties the Court can impose

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imprisonment for a period not to exceed 20 years;

a fine not to exceed $1,000,000, or twice any pecuniary gain to the
defendant or loss to the victim(s);

a term of supervised release of at least three years, which is
mandatory under the law and will follow any term of imprisonment.
If Leedy violates the conditions of supervised release, she could be
imprisoned for the entire term of supervised release;

a mandatory special assessment of $100;

restitution to victims or to the community, which may be mandatory
under the law, and which Leedy agrees may include restitution
arising from all relevant conduct, not limited to that arising from the
offense of conviction alone;

costs of incarceration and supervision; and

forfeiture of property.

Court’s sentencing discretion and role of the Guidelines: Leedy

understands that the sentence in this case will be imposed by the Court after consideration

of the United States Sentencing Guidelines. The guidelines are not binding on the Court,

but are advisory only. Leedy has reviewed the guidelines with her attorney, but

understands no one can predict with certainty the outcome of the Court’s consideration of

the guidelines in this case. Leedy will not be allowed to withdraw her plea if her

sentence is higher than expected. Leedy fully understands that the actual sentence

imposed (so long as it is within the statutory maximum) is solely in the discretion of the

Court.

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5. Mandatory special assessment: Prior to sentencing, Leedy agrees to pay
to the U.S. District Clerk the amount of $100, in satisfaction of the mandatory special
assessment in this case.

6. Defendant's agreement: Leedy shall give complete and truthful
information and/or testimony concerning her participation in the offense of conviction.
Upon demand, Leedy shall submit a personal financial statement under oath and submit
to interviews by the government and the U.S. Probation Office regarding her capacity to
satisfy any fines or restitution. Leedy expressly authorizes the United States Attorney’s
Office to immediately obtain a credit report on her in order to evaluate the Defendant’s
ability to satisfy any financial obligation imposed by the Court. Leedy fully understands
that any financial obligation imposed by the Court, including a restitution order and/or
the implementation of a fine, is due and payable immediately. In the event the Court
imposes a schedule for payment of restitution, Defendant agrees that such a schedule
represents a minimum payment obligation and does not preclude the U.S. Attorney’s
Office from pursuing any other means by which to satisfy Defendant’s full and
immediately enforceable financial obligation. Leedy understands that she has a
continuing obligation to pay in full as soon as possible any financial obligation imposed
by the Court.

7. Government's agreement: The government will not bring any additional
charges against Leedy based upon the conduct underlying and related to the Defendant’s
plea of guilty. The government will file a Supplement in this case, as is routinely done in

every case, even though there may or may not be any additional terms. The government

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will dismiss, after sentencing, any remaining charges in the pending Indictment. This
agreement is limited to the United States Attorney's Office for the Northern District of
Texas and does not bind any other federal, state, or local prosecuting authorities, nor does
it prohibit any civil or administrative proceeding against Leedy or any property.

8. Violation of agreement: Leedy understands that if she violates any
provision of this agreement, or if her guilty plea is vacated or withdrawn, the government
will be free from any obligations of the agreement and free to prosecute Leedy for all
offenses of which it has knowledge. In such event, Leedy waives any objections based
upon delay in prosecution. If the plea is vacated or withdrawn for any reason other than a
finding that it was involuntary, Leedy also waives objection to the use against her of any
information or statements she has provided to the government, and any resulting leads.

9. Voluntary plea: This plea of guilty is freely and voluntarily made and is
not the result of force or threats, or of promises apart from those set forth in this Plea
Agreement. There have been no guarantees or promises from anyone as to what sentence
the Court will impose.

10. Waiver of right to appeal or otherwise challenge sentence: Leedy
waives her rights, conferred by 28 U.S.C. § 1291 and 18 U.S.C. § 3742, to appeal from
her conviction and sentence. She further waives her right to contest her conviction and
sentence in any collateral proceeding, including proceedings under 28 U.S.C. § 2241 and
28 U.S.C. § 2255. Leedy, however, reserves the rights (a) to bring a direct appeal of (i) a

sentence exceeding the statutory maximum punishment, or (ii) an arithmetic error at

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sentencing, (b) to challenge the voluntariness of her plea of guilty or this waiver, and

(c) to bring a claim of ineffective assistance of counsel.

11. Representation of counsel: Leedy has thoroughly reviewed all legal and

factual aspects of this case with her lawyer and is fully satisfied with that lawyer’ s legal

representation. Leedy has received from her lawyer explanations satisfactory to her

concerning each paragraph of this Plea Agreement, each of her rights affected by this

agreement, and the alternatives available to her other than entering into this agreement.

Because she concedes that she is guilty, and after conferring with her lawyer, Leedy has

concluded that it is in her best interest to enter into this Plea Agreement and all its terms,

rather than to proceed to trial in this case.

12. Entirety of agreement: This document is a complete statement of the

parties’ agreement and may not be modified unless the modification is in writing and

signed by all parties.

AGREED TO AND SIGNED this_5 hay of

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Respectfully submitted,

JOHN R. PARKER
UNITED STATES ATTORNEY

 

PHELESA M. GU¥Y---—-——
Assistant United States Attorney
Texas State Bar No. 00798230
1100 Commerce Street, Third Floor
Dallas, Texas 75242-1699
Telephone: 214.659.8600
Facsimile: 214.659.4100

Email: Phelesa.Guy@usdoj.gov
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RICK CALVERT
Deputy Criminal Chief

I have read (or had read to me) this Plea Agreement and have carefully reviewed
i} part of it with my attorney. I fully understand it and voluntarily agree to it.

A fol en/ut

Nicole Leedy Date!
Defendant

I am the Defendant’s counsel. I have carefully reviewed every part of this Plea
Agreement with the Defendant. To my knowledge and belief, my client’s decision to
enter into this Plea Agreement is an informed and voluntary one.

 

 

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LER RS Date / 2
Attorney for dant

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